       Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 1 of 28




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


UNITED STATES SECURITIES AND
EXCHANGE COMMISSION,

                       Plaintiff,

       v.                                                Civil Action No. 3:15-cv-675 (JBA)

IFTIKAR AHMED,

                       Defendant, and

IFTIKAR AHMED SOLE PROP; et al
                                                         September 03RD, 2019
                       Relief Defendants.


    DEFENDANT’S RESPONSE IN OPPOSITION TO THE “SECOND INTERIM
  APPLICATION FOR PROFESIONAL [SIC] FEES AND EXPENSES INCURRED BY
          THE RECEIVER AND HIS PROFESSIONALS” [DOC. #1249]


       The pro se Defendant submits this Response in Opposition [“Second Opposition”] to the

Receiver’s “Second Interim Application for Profesional [sic] Fees and Expenses Incurred by the

Receiver and his Professionals.” [Doc. #1249, or the “Second Application”]. The Defendant

reserves all rights to all issues and fully incorporates his Opposition [Doc. #1183 or the “First

Opposition”] and Sur-Reply [Doc. #1222-1 or the “Sur-Reply”] to the Receiver’s First

Application for Fees and Expenses [Doc. #1160 or the “First Application”] into this Opposition.

       The Court must deny the Second Application for the same reasons as the Defendant

outlined in his First Opposition to Receiver’s First Application: the Receiver’s fees are

excessive, duplicative, unreasonable and unjustified; the Receiver has not provided any benefit at

all to the Receivership Estate to justify such excessive and unjustified expenses; the Order

Appointing Receiver is under appeal; the Receiver is proven beyond any reasonable doubt to be

                                                 1
        Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 2 of 28




a biased party and an agent of the Plaintiff; the Court has no jurisdiction to impose additional

penalties on the Defendant alone and thus create a perverse incentive by paying the Receiver out

of funds or assets above the judgment amount; it is inequitable for the Court to pay a Receiver

who solely benefits the public (and not the Defendant) out of funds belonging to the Defendant

when the Court has repeatedly denied funds for counsel to the Defendant (in violation of his due

process rights) and even for his medical treatment for cancer despite the Receiver’s own

confirmation of tens of millions of dollars of assets over and above the judgment amount.

       The Defendant reserves all rights to all issues and does not waive any right by way of this

Second Opposition or his earlier First Opposition or Sur-Reply.



I.     FIRST OPPOSITION AND SUR-REPLY.

       The Defendant incorporates his complete First Opposition [Doc. #1183] and Sur-Reply

[Doc. Doc. #1222-1] into this Opposition. For the convenience of the Court, the Defendant does

not repeat the arguments here (and fully incorporates those arguments from his First Opposition

and refers the Court to his First Opposition), but the Defendant opposes the Receiver’s Second

Application for the same reasons as outlined in his First Opposition and Sur-Reply and also

addresses additional reasons in this Second Opposition.



II.    THE RECEIVER’S FEES ARE NOT JUSTIFIED IN THIS CASE.

       The Defendant incorporates and reiterates his position that a Receiver was not needed in

this instant case and the Receiver’s Fees are not justified in this case [First Opposition at 1-7]. As

the Defendant further explains in this Second Opposition, the Receiver has created no economic




                                                  2
        Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 3 of 28




benefit to the Estate during the time period under the Second Application, but has rather cost the

Estate money and the Court must look at attorney’s fees as a loss to the Estate.1

        “[A]mong the factors considered by the Court in exercising its discretion to determine the

appropriate award of fees is the cost-efficiency of the Receiver's work in terms of assets

recovered for victims, see SEC BILLING INSTRUCTIONS at 26, “the complexity of problems

faced, the benefits to the receivership estate, the quality of the work performed, and the time

records presented,” SEC v. Fifth Ave. Coach Lines, Inc., 364 F. Supp. 1220, 1222 (S.D.N.Y.

1973).” See SEC v. Illarramendi, Civil No. 3:11CV78 (JBA), at *3 (D. Conn. Dec. 5, 2013).

Under these factors, the Receiver’s fee request is outrageously excessive and unjustified.

        First, the Receiver did not have to recover any assets for the alleged victim, as by his

own admission, there are more assets that the Judgment amount and indeed, more assets than

even this Court’s own Order of the maximum amount of assets that can be frozen. This Court –

prior to ordering a Judgment – had ordered that a maximum of $89 million2 in assets be frozen

[Doc. #829] and the Receiver, using conservative estimates and not even ascribing a value to

certain frozen assets, now depicts a value of frozen assets under the Receiver of $89,851,899.483

[Doc. #1249-5 at 5]. Not only is the value of the frozen assets greater than the Judgment amount

by tens of millions of dollars, it is now greater than this Court’s own order of freezing a

maximum of $89 million in assets. While this Court legally cannot keep assets over and above

the Judgment amount frozen, it surely cannot keep assets above its own order of a maximum

permissible freeze amount frozen.



1
  “…receivership… where the goal is…to manage the estate in such a way as to maximize recovery while
minimizing loss, including losses caused by attorney's fees.” (emphasis in original) See SEC v. Aquacell
2
  The Court froze “[t]he assets, funds or other property held by or under the direct or indirect control of
Defendant and Relief Defendants… up to the amount of $89,000,000. [Doc. #829 at 5]
3
  This does not include the value of Defendant’s Oak assets of approximately $40 million, which continue
to remain frozen and under Second Circuit jurisdiction while an appeal is pending.
                                                     3
        Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 4 of 28




       This Court must immediately release the excess of funds over its own Order of a

maximum permissible freeze amount of $89,000,0004 directly to the Defendant.5

       Second, as the Defendant has made clear, there is no complexity in managing assets that

are mostly liquid and real estate (and additional assets that are managed by others) and that are

tens of millions of dollars above the Judgment amount. Indeed, the Receiver himself should be

alerting this Court and all parties when the value of the frozen assets is greater than even this

Court’s own Freeze Order. However, selfishly, the Receiver is content to simply let the value of

assets continue to be tens of millions of dollars greater than the Judgment amount and even

greater than this Court’s own order of a permissible maximum asset freeze. This is yet another

example of the Receiver’s inefficiency and severely jaundiced bias against the Defendant, which

continues to prejudice the Defendant and adversely affect him. Instead, the Receiver

astonishingly invoices $94,677.89 to the Defendant and has done nothing to provide any

economic benefit to the Estate during this time. The Receiver has not provided any benefit to the

Estate during this time, but has rather lost value to the Estate by way of requesting his excessive

and unjustified fees and by deliberately keeping mum about the value of the assets frozen under

the Receiver.

       Third, the Receiver and his counsel continue to double (and at times even triple!) bill on

their time records, continue to be inefficient with the management of their time in this matter,

and continue to invoice the Defendant for matters that have nothing to do with this case or that

are premature to deal with at this time. The Defendant provides his objections to the time




4
  As Defendant has detailed in his Motion for Mistrial [Doc. #1157 at 4-6], this freeze amount is
erroneous and should instead be a maximum of $85 Million with the disgorgement amount as presently
determined by this Court itself.
5
  Defendant will work with the Receiver to transfer the funds directly to the Defendant.
                                                  4
          Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 5 of 28




records throughout this Second Opposition and gives additional detail in S ECTION IX of this

Second Opposition, titled “S PECIFIC I TEMS        AND / OR   G ROUPS   OF   I TEMS .”

          It is clear that the Receiver has done nothing during the Second Application that has

provided any economic benefit to the Estate and his application for fees must be denied on this

basis alone.


III.      THE RECEIVER’S FEES CONTINUE TO BE EXCESSIVE FOR THE DUTIES
          PERFORMED.

          The Defendant incorporates, reiterates and adds to his argument that the Receiver’s Fees

are Excessive for the Duties Performed [First Opposition at 8-10]. It is well known that the

Receiver and his hired professionals “must exercise proper billing judgment in seeking fees from

the receivership estate, and should limit their work to that which is reasonable and necessary.”6

The Receiver has not only improperly billed the estate, but he has performed work that is

unnecessary and frivolous only to line his own pockets.

          First, any increase in the value of assets under the Receivership is a direct result of the

investment decisions made by parties other than the Receiver (such as the Defendant and Relief

Defendant Ms. Ahmed) and that were put into place years prior to any asset freeze. The Receiver

just cannot take any credit for any increase in the value of assets during this (or any other) time

period.

          Second, the Receiver stated in his First Application that “the extent of fees and expenses

incurred for the first Compensation Period of the receivership will not necessarily correspond to

future applications due to the extent of initial start-up work required to secure and investigate the

assets and submit the Report of Receiver.” [First Application at 27]. However, the actual fees


6
  Aquacell Batteries, 2008 WL 276026, at *2. (“Part of ‘determining the nature and extent of the services
rendered’…includes an analysis as to the reasonableness of the services rendered,” and the expenses for
which reimbursement is sought must have been “actual and [] necessarily incurred.”).
                                                    5
        Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 6 of 28




and expenses in the Second Application not only belie that statement, but also support the fact

that the Receiver is simply paying lip-service to his claims of efficiently managing his and his

counsel’s fees and expenses and is only indulging in an attempt to line his own pockets.

       For example, the Receivership continues to be inefficiently managed just by analyzing

the numbers. In the First Application, there was a total of 646.3 hours worked over 96 days,

which means that someone was working on this case for an astounding 7 (seven) hours every

day since the appointment of Receiver. Either the Receiver has very little of anything else to do

on any day, or mistakes the Receivership Estate to be his own “TARP program” for full

employment package for everyone in his firm. This is absolutely unacceptable and egregious

for this case and it is astonishing how the Receiver blatantly submits excessive and unnecessary

billing to this Court and the parties, to be paid for by the Defendant!

       As the Defendant has pointed out in his First Opposition, that is excessive for the facts of

this case and the Court should take particular notice of this, especially because this has simply

continued into the time duration covering the Second Application.

       In the Second Application, the same inefficiency of management of assets continues:

there was a total of 441.90 hours worked over 65 working days7, which again means that

someone was working on this case for 7 (seven) hours8 every working day during the time

period covered by the Receiver’s Second Application. Not only did the Receiver say that

expenses would be front-loaded (i.e. not continue at the same rate), but again, these expenses and

fees are excessive in a situation where there are mostly liquid and near-liquid assets frozen,




7
  Calculated as the number of weekdays between April 1, 2019 to June 30, 2019, and does not account for
holidays such as Easter and Memorial Day, which would further increase the amount of hours spent on
this case per working day.
8
  Calculated as 441.90 hours divided by approximately 65 business days for the time period covering the
Application.
                                                   6
          Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 7 of 28




where there is no real active management that needs to happen and where there are tens of

millions of dollars of assets frozen above the judgment amount.

          These invoices are all clearly unrealistic and excessive and a complete and

unnecessary drain on the Estate with no corresponding value produced. There is

absolutely no justifiable reason why and no realistic scenario where the Receiver and his

counsel are working nearly seven (7) hours every day on this matter.

          Third, it is clear that the Receiver is inefficiently managing the Estate. It is simply

inconceivable that the Receiver is invoicing his Second Application at a run-rate of over

$30,0009 per month! That is highly excessive and completely unnecessary given the facts of this

case and is contrary to the Receiver’s statement that fees and expenses would be “front-loaded.”

Invoicing over $30,000 a month in this case is clearly excessive and unjustified where again,

there are mostly liquid and real estate assets frozen, there are tens of millions of dollars frozen

above the Judgment amount and no real active management of these assets is needed.

          Fourth, the Receiver has simply outsourced the administration of the Estate to his

counsel, who are charging exorbitant fees. As the Defendant has already explained, the Receiver

is providing legal services to himself. As such, there is no need for additional counsel for the

Receiver, who is himself a lawyer and providing legal services. Indeed, the Defendant, who is

pro se, has been denied counsel throughout this entire litigation and has had to be and continues

to be pro se. It is just outrageously inequitable for the Court to provide counsel to the Receiver

(a lawyer with many decades of experience) and pay them (and him) from the Defendant’s assets




9
    Calculated as $92,879.20 divided by three months.
                                                        7
        Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 8 of 28




when the Court has denied the Defendant (who has no legal background at all) the use of his own

legally earned funds for the retention of counsel for himself.10

        Fifth, the Defendant is pro se and explains his opposition to certain groups or

classifications of the Receiver’s Fee Application throughout this Second Opposition, but also

specifically in S ECTION IX of this Second Opposition, which is titled “SPECIFIC ITEMS AND/OR

GROUPS OF ITEMS.” This opposition to certain classifications or groups does not waive the

Defendant’s position that the Receiver’s fees should be substantially reduced, but as in the First

Opposition, is an addition to help the Court in understanding the Defendant’s opposition to the

payment of Receiver fees as requested in the Second Application.



IV.     THE RECEIVER’S FEES MUST BE PAID FROM THE JUDGMENT AMOUNT
        AND THE ORDER IS UNDER APPEAL.

        The Defendant reiterates his position [First Opposition at 11-14] that if the Court believes

that the Receiver should be paid his fees, then they must be paid from within the Judgment

amount and not be an additional penalty on the Defendant. It also renders a preserve incentive –

as has already been depicted – whereby “the possibilities for abuse [are] limited only by the size

of the estate” SEC. v. Northshore Asset Mgt., 05 Civ. 2192 (WHP), at *3 (SDNY Sep. 29, 2009).

        As the Defendant has also already stated, it is highly inequitable for the Court to be

paying the Receiver from the Defendant’s legally earned funds when the Defendant himself has

been denied the use of those funds for his own purposes,11 including for the retention of counsel.




10
   The Defendant’s M OTION FOR M ISTRIAL is fully briefed and remains pending. (Docs. ##1135,
1146, 1147 and 1157).
11
   See Almeida v. Holder, 588 F.3d 778, 788 (2d Cir. 2009) (“The rights and benefits of property
ownership are, after all, many... [T]hey include not only the right to actual possession of a thing, but also
the right to exclude others from possessing it, the right to use it and receive income from its use, the right
to transmit it to another...”).
                                                      8
        Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 9 of 28




       Not only that, the Receiver Order (and additional rulings) are under appeal [First

Opposition at 14-15] and appellate rulings could very well render a different outcome than the

current situation. Not only would the Receiver be personally liable for the management of assets

above the judgment amount (and the judgment could be reduced based on the appellate courts’

rulings), the appellate courts could rule that the Receiver must be paid from within the Judgment

amount for reasons including but not limited to: he does not represent the Defendant’s interests.


V.     THE RECEIVER IS A BIASED PARTY AND DOES NOT REPRESENT THE
       DEFENDANT, BUT RATHER HAS IRREVERSIBLY HURT AND DAMAGED
       THE DEFENDANT’S INTERESTS.

       The Receiver continues to be a partial party in this matter. The Defendant incorporates

and reiterates his position [First Opposition at 18-22] that the Receiver is not a neutral party,

contrary to his mandate and the reason why a Receiver is appointed.

       First, not only has the Receiver been unprofessional towards the Defendant [Doc. #1258

at 1-2, n. 1], the Receiver has taken positions that are directly contrary to the Defendant’s

interests in every single submission during this time period covering the Second Application. It

is simply inequitable to force the Defendant to pay for someone who takes an adverse position

to his own interests. For example, the Receiver has opposed Defendant’s request for

information regarding his private investments [Doc. #1141]12, which is ludicrous as the

Defendant not only has legally binding investor’s right to financial information regarding his

own investments, the Receiver is also not intending to use the Defendant’s private investments

towards securing the SEC’s judgment. [listing these assets under “Assets not needed to pay

Judgment at this time” Doc. #1130-2 at 3-4]. The Receiver has also opposed [Doc. #1156] the


12
  For example, see SMK entry on 4/22/2019 “Revise objections to defendant’s motion for access to
information.” [Doc. #1249-4 at 9]; and see CHB entry on 4/23/2019 “Review objection to IAA motion re
private investments” [Doc. #1249-4 at 10]
                                                  9
       Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 10 of 28




Defendant’s Motion to Sanction the SEC [Doc. #1139]; and objected [Doc. #1216] to the

Defendant’s Motion to Stay in Light of Petition to the US Supreme Court [Doc. #1187]. The

Receiver has even objected [Doc. #1240] to the Defendant’s Motion for Arbitration [Doc.

#1225]. These issues have absolutely nothing to do with the Receiver or with the Receivership

Estate, but have everything to do with the conduct of the parties to this case, the merits of this

case, or with the Defendant’s assets that are still frozen and under Second Circuit jurisdiction but

apparently not under the Receiver. Indeed, the Receiver has taken the position contrary to the

Defendant’s interests each and every time. The Receiver wants the Defendant to pay for his

adversary’s bills! And at the same time, the Defendant has been denied the use of his own legally

earned funds for his own legal defense. It just cannot get more perverse or ludicrous as to

render this process a complete and utter sham, highly inequitable and unjust.

        Second, the Receiver continues to have substantial discussions with the SEC, the

Defendant’s adversary in this case, on various issues in this matter and on the Receiver’s

positions on his responses before even filing his submissions to the Court. The Defendant should

not be paying for the Receiver’s conversations with the SEC to guide them on how to respond.

Until this Court orders otherwise, the Defendant has every right to review and opine on the

Receiver’s fees, especially as the Court has not released any funds that Defendant legally earned

that are above the judgment amount for Defendant to retain legal counsel for himself in any of

his matters, but is instead using the Defendant’s own legally earned funds – which Defendant

strongly opposes – to pay the Receiver who does not in any way benefit the Defendant.

        During this time period under the Second Application, the Receiver has spoken with the

SEC for a total of 28 hours and at a cost of $7,408.13 Indeed, if the Defendant is paying for the


13
  In all instances in this Opposition where Defendant provides hours and costs, the Defendant has
eyeballed the invoice entries and has estimated these hours and amounts based on the description in the
                                                   10
       Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 11 of 28




Receiver’s fees and expenses (i.e. coming from above the Judgment amount), then the Defendant

is the Receiver’s client. And the Defendant cannot and does not agree with the Receiver

speaking with his adversary – the SEC – without his approval.

        Not only that, the Receiver clearly depicts his partiality as he runs his position on various

filings and issues by the SEC multiple times before filing his own submissions to the Court:

        (i)      4/1/2019       CHB/SMK Multiple calls with the SEC “re Receiver Report
                 and liquidation proposal;” “[E]xchange correspondence with SMK re updated
                 liquidation plan, draft correspondence to MW and NH re same.” [Doc. #1249-4 at
                 2]. The Receiver’s Report was filed on 4/3/2019. [Doc. #1130].

        (ii)     4/2/2019      CHB Call with MW (SEC) re remaining issues in liquidation.
                 [Doc. #1249-4 at 34]. The Receiver’s Report was filed on 4/3/2019 [Doc. #1130]

        (iii)    4/23/2019      CHB/SMK Telephone conversation with SEC re: response to
                 defendant’s motion for access [Doc. #1249-4 at 10]. The Receiver’s Response
                 was filed the next day on 4/24/2019 [Doc. #1141].

        (iv)     5/10/2019    CHB            Call with NH (SEC) re recent IA filings, draft
                 correspondence re same to SMK [Doc. #1249-4 at 15].

        (v)      5/13/2019      SMK           Telephone conference with SEC re: motion for
                 contempt and appointment of receiver. The Response was “review[ed] and
                 revis[ed]” [Doc. #1249-4 at 15] that day and the Receiver’s Response was filed
                 that day [Doc. #1156].

        (vi)     5/30/2019  SMK           Conference call with SEC re: most recent filings by
                 HSC and Ahmed [Doc. #1249-4 at 19].

        (vii)    6/5/2019       SMK             Telephone conference with SEC to discuss
                 opposition to receiver’s report and MC’s motion for payment of fees and retainer
                 or to withdraw [Doc. #1249-4 at 20].

        (viii)   6/17/2019       SMK             Conference call with Mark Williams re: remaining
                 issues with receiver’s report. [Doc. #1249-4 at 22]. On same day, “[I]nitial
                 revisions to reply to responses to receiver’s report” and “[R]eview and revise
                 latest draft and reply to responses to receiver’s report.” Idem. The Response was
                 filed that day [Doc. #1203].




various line items of the four invoices submitted and reserves the right to update them if new information
emerges.
                                                    11
       Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 12 of 28




       It is telling that the Receiver has not once discussed any filing with the Defendant. It is

clear that the Receiver is simply aiming to please their masters, the SEC, and that the SEC is

their client, a fact that is supported by the positions taken by the Receiver since his appointment

here as well as by the fact that the Receiver runs his positions by the SEC before filing his

submissions to the Court. And so it is only logical that the masters (the SEC) should pay their

piper (the Receiver) for playing their tunes. It is only equitable that the client (the SEC) should

pay their agent (the Receiver) and not the Defendant.

       This extreme partiality and bias, which has been depicted multiple times since the

Receiver’s Appointment, is against the mandate of this Court (“to manage and maximize the

value of frozen assets under the guidance of a neutral third party” (emphasis added) [Doc. #1070

at 5]) and the reason why a Receiver is appointed in the first place.


VI.    THE SEC’S SUPPORT FOR RECEIVER’S PAYMENT MUST BE IGNORED.

       The Defendant incorporates and reiterates his position [First Opposition at 15-18] that the

SEC’s support for payment to the Receiver must be ignored. Typically, "[O]pposition or

acquiescence by the SEC to the fee application will be given great weight." Byers, 590 F. Supp.

2d at 644 (quoting First Ave. Coach Lines, 364 F. Supp. at 122). However, courts have stated

that “[N]o statute compels such a conclusion, however, nor do[es] [the Court] believe such great

deference is warranted in this instance.” In re Alpha Telcom, Inc., No. CV 01-1283-PA, at *6 (D.

Or. Oct. 27, 2006).

       This Court should decline to give any weight to the SEC’s opinion in this Second Fee

Application, as the SEC’s opinion should be considered only in a situation where the amount of

assets collected is less than judgment amount or if this Court reimburses the Receiver from funds

encompassed within the judgment (within the $64.4MM amount). Otherwise, only the Defendant

                                                 12
       Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 13 of 28




and the Relief Defendant’s opinion must be given “entire weight,” if any payment is coming

from them and their assets above the judgment amount.

        As in the First Application, the Receiver has confirmed “[T]he Commission has

expressed that it does not oppose the relief requested in this Second Application” [Second

Application at 2]. This is to be expected, given the Court’s rulings that simply incentivize the

SEC to “rubber-stamp” the Receiver’s Fee Applications. The Court must decline to give any

weight to the SEC’s opinions on this Application.


VII.    THE RECEIVERSHIP MUST BE TERMINATED IMMEDIATELY.

        The Defendant incorporates and reiterates his position [First Opposition at 22-26] that the

Receivership must be terminated immediately. The Defendant has expressed multiple times that

the Receiver was not needed in this case and the Receiver is “costing” the Estate money, not

generating the Estate any value. Indeed, it is this Court that has stated that “fees requested are

justified by the net economic benefit that they will provide to the estate.” SEC v. Illarramendi,

Civil No. 3:11cv78 (JBA), at *1 (D. Conn. Jan. 16, 2014). The Court must also look at the

Receiver’s fees as a loss to the Estate.14 There was absolutely NO economic benefit to the

Estate during this period – indeed, there were only significant and unnecessary expenses that

the Receiver imposed on the Estate.

        The Defendant will go into more detail in SECTION IX titled “SPECIFIC ITEMS AND/OR

GROUPS OF ITEMS” of this Second Opposition, but two significant examples are:

        (i)     The billing to the Estate of the potential appointment of the Receiver in an
                unrelated case (the MA Civil Matter). This is a business expense of the Receiver’s
                firm and should absolutely not be charged to the Estate. Based on the invoices


14
  “…receivership… where the goal is…to manage the estate in such a way as to maximize recovery
while minimizing loss, including losses caused by attorney's fees.” (emphasis in original) See SEC v.
Aquacell Batteries Case No. 6:07-cv-608-Orl-22DAB, at *9 (M.D. Fla. Jan. 31, 2008)
                                                   13
        Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 14 of 28




               submitted, the Defendant has estimated this to be nearly $9,000 in unnecessary
               expenses to the Estate.

        (ii)   The billing to the Estate of any amount spent on preparations to liquidate the
               apartments. The Court has made it clear that only “[I]f subsequently ordered by
               this Court…” (emphasis added) [Doc. #1070 at 14]. It is entirely premature for
               the Receiver to speculate and indeed highly presumptuous for the Receiver to take
               actions related to the potential monetization of the apartments without any order
               from this Court and without “due regard for the interests of the Defendant and the
               Relief Defendants” Idem. Based on the invoices submitted in this Second
               Application, the Defendant has estimated this amount in premature and
               unnecessary expenses to be approximately $9,800.


        Just these two examples alone are approximately 20% of the total amount requested in

the Second Application. The fact that the Receiver even billed for these actions shows the

mismanagement and abuse that ensues with the appointment of a Receiver whereby “the

possibilities for abuse [are] limited only by the size of the estate.” SEC. v. Northshore Asset

Mgt., 05 Civ. 2192 (WHP), at *3 (SDNY Sep. 29, 2009). This Court should not allow that to

happen.


VIII.     IN THE ALTERNATIVE, IF THIS COURT IS INCLINED TO GRANT FEES
          TO THE RECEIVER, IT MUST REDUCE THE FEES SUBSTANTIALLY AND
          IMPOSE A 100% HOLDBACK UNTIL ALL APPEALS ARE CONCLUDED.

        The Defendant believes that the Receiver should not be paid at all. Or that if he is paid,

he should be paid from within the Judgment amount and by those parties who are benefiting

from the Receiver – namely the Judgment and/or the SEC.

        In this Second Opposition, the Defendant incorporates and reiterates his position in the

First Opposition [First Opposition at 26-29] that “if this Court is inclined to grant the Receiver’s

fees (which the Defendant vehemently opposes), the Court should apply a minimum of a 50%

discount to the requested fees and withhold 100% of the amount” as Courts have discretion to

award the amount of compensation that can or will be awarded to a court-appointed receiver. See

                                                 14
       Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 15 of 28




SEC v. Byers, 590 F. Supp. 2d 637, 644 (S.D.N.Y. 2008); United States v. Code Prods. Corp.,

362 F.2d 669, 673 (3d Cir. 1966).

       The Court should also hold any payment to the Receiver in abeyance until the final

conclusion of this matter when all appeals have been heard (if the Court keeps the Receivership

that long), as even the Receiver himself stated that “[O]verall results can be determined only at

the conclusion of the Receivership Proceeding.” [Doc. #1249 at 27] This case does not justify

the award of fees or expenses to the Receiver until any benefit that the Estate receives from him

is determined.

       Courts have allowed the “Receiver [to] apply for those fees at the conclusion of this

litigation. Withholding fees until the conclusion of the lawsuit assists the Court in achieving its

continuing goal of preserving funds held in the receivership estate for the compensation of the

investors. This approach is common in SEC civil enforcement actions because it allows the

Court to withhold fees until it is absolutely clear that a receiver’s efforts will ultimately benefit

the receivership estate. See SEC v. Byers, 590 F. Supp. 2d at 648. The Court derives the authority

to award such reduced fees from its power to “fix the compensation” of receivers and their

attorneys. Drilling, 69 F.2d at 418.” SEC v. Small Bus. Capital Corp. Case No. 5:12-CV03237

EJD, at *4 (N.D. Cal. Aug. 7, 2014). As such, the Court should wait until the conclusion of all

appeals before any fees or expenses are awarded to the Receiver so that any net economic benefit

(if any) from the Receiver’s actions can be determined and assessed.




IX.    SPECIFIC ITEMS AND/OR GROUPS OF ITEMS ON EXHIBITS TO THE
       SECOND APPLICATION.

       As in his First Opposition, the Defendant contests all of the Receiver’s bills in his Second

Opposition, but because he is pro se and uncertain of the proper procedure regarding line items,
                                                  15
       Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 16 of 28




the Defendant only gives some examples below to support his opposition of the payment of any

fees or expenses to the Receiver. Should the Court request a line item audit by the Defendant, the

Defendant would provide such to the Court. The Defendant reserves the right to bring additional

issues on these invoices and exhibits, or any other matter regarding the Receiver’s applications

for fees and expenses, to the Court’s attention at a later date in time.



       1.      Doc. #1249-3, or Exhibit C:

       First, as in his First Opposition, the Defendant opposes all items in Doc. #1249-3 or

Exhibit C in this Second Opposition. These items that the Receiver is looking to have reimbursed

include: PACER expenses, online research expenses, title search, certified copies expenses,

Federal Express expenses, copying expenses, travel charges, postage, and conference call

expenses.

       With respect to PACER and online research expenses, the Receiver does not explain what

documents he accessed from PACER and what online research resulted in these invoices.

Further, as indicated in the emails transmitting electronic filings in this case, the PACER system

permits parties to download for free a copy of all case-related documents. Further, the Court

denied the same relief that the Defendant requested toward payment of a $28.50 PACER bill,

stating that “[S]hould Defendant desire the additional benefit of viewing documents in other

cases or viewing documents in his case multiple times, he must bear that expense himself.” [Doc.

#773]. The Court must treat the Receiver the same way.

       Second, the Receiver does not specify the need for such other services, such as copying.

In addition, because this Court also denied Defendant any amount for travel expenses, any aid

with conference call expenses and any aid with any of his attempts to litigate this case, any and

all expenses that the Receiver is requesting reimbursement for on Exhibit C (Doc. #1249-3) must
                                                  16
       Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 17 of 28




also likewise be denied or removed. The denial of these same or similar expenses for the

Defendant has severely prejudiced the Defendant and has adversely impacted him as he was not

able to properly litigate his case(s). The Court cannot allow the reimbursement of these expenses

to the Receiver.


        2.      Doc. #1249-4, or Exhibits D-1 to D-4 (in its entirety):

        First, concerning and indicative of the way the Estate is being managed, there are

multiple errors in the invoicing wherein the same activity is being billed twice by the same

person. There are multiple examples of this throughout the invoices, but the Defendant provides

only a few examples15 for the Court’s benefit below:

        (i)     See CHB entry on 4/1/2019 “Exchange correspondence with SMK re updated
                liquidation plan, draft correspondence to MW and NH re same” [Doc. #1249-4 at
                2] versus CHB entry on 4/1/2019 “Exchange correspondence with SMK re
                updated liquidation plan, draft correspondence to MW and NH re same” [Doc.
                #1249-4 at 3]

        (ii)    See SMK entry on 4/3/2019 “Read report before filing; coordinate filing” [Doc.
                #1249-4 at 4] versus SMK entries on 4/3/2019 “Review plan of liquidation before
                filing” and another entry on 4/3/2019 “Review proposed order before filing”

                Presumably the two entries later that day are the same as the first entry as “read
                report before filing” is equivalent to “review plan of liquidation before filing” and
                “review proposed order before filing” and the two later time entries (0.40 and
                0.30 hours) add up to the first time entry (0.70 hours)

                There is an additional time entry on 4/3/2019 “Review and revise proposed order
                approving Receiver’s Report.” There is significant duplication of the same action
                by the same person on the invoice.

        (iii)   See JED entry on 4/8/2019 “Review/strategize/research/edit Motion for Advice
                re: tax issues” for 4.7 hours versus JED entry on 4/8/2019 “Conference with SMK
                and CB re: Motion to Advice” for 2.9 hours. So which one is it? There is
                definitely overlap between these two entries, but the Receiver has billed for both
                separately.


15
  Should the Court want a line-by-line audit of each time that the same entry is entered twice on the
invoice, Defendant would be happy to provide such for the benefit of the Court.
                                                    17
        Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 18 of 28




        (iv)   See SMK entry on 4/24/2019 “Conference call with Paul Knag re: B of A
               transfer, payment of legal fees and sale of apartments” [Doc. #1249-4 at 10]
               versus SMK entry on 4/24/2019 “Telephone conference with Attorney Paul Knag
               re: sale of apartments and release of funds for legal fees” [Doc. #1249-4 at 10]

        (v)    See SMK entries on 6/17/2019 “revisions to reply to responses to receiver’s
               report;” “review and revise latest draft and reply to responses to receiver’s
               report;” and “final review and finalize omnibus reply to responses to receiver’s
               report” [Doc. #1249-4 at 22]. Clearly there is some overlap in these entries that
               deal with the same issue and add up to a total of 10.5 hours on the same day


        These items must be reconciled and only billed once. You cannot have the same person

billing twice for the same action on the same invoice and the fact that this occurs multiple times

is simply evidence of the fraudulent time and record keeping indulged in by this Receiver in

order to simply line his own pockets.

        Second, and already addressed in the First Opposition, the Receiver does not explain why

two people were needed on any conversation with the Defendant or the Relief Defendants, and

why two attorneys were needed for any communication, meeting, or discussion with any other

party. Courts have reduced any fees by the amount charged for other people who attended a

conversation, hearing or dealt simultaneously with the same issue. See In re 29 Brooklyn Avenue,

LLC, US Bankruptcy Court, EDNY, April 27, 2016 (reducing fees paid when more than one

attorney was present). Assuming no more than one person was required, given at least two

attorneys were always doing the same work, the fee total must be reduced by at least 50% if not

more for this reason alone.

        This continues to be concerning as the Receiver himself testified that his firm would not

“double-bill, even if it’s legitimate double-billing, in the sense of if two of us are dealing with

the same issue we only bill for one person’s time” [Doc. #1043 at 24:17-19, “Nov 28 Hr.

Trans.”]; and yet when the bills are submitted, the Invoices show the exact opposite of what he

said.
                                                  18
       Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 19 of 28




        As in the Receiver’s First Application, there are multiple instances of bills for multiple

attorneys for the same issue (each meeting, conference call, etc.), in the Second Application, but

the Defendant provides just a few examples16 for the Court’s benefit below:


        (i)     See SMK entry on 4/1/19 “Call with SEC to address various issues with report
                and plan of liquidation” for 1.20 hours versus CHB entry on 4/1/19 “Additional
                call with Mark Williams (SEC) and SMK re Receiver Report and liquidation
                proposal” for 1.20 hours [Doc. #1249-4 at 2]

        (ii)    See SMK entry on 4/2/19 “Telephone conference with Paul Knag and Shalini
                Ahmed” for 0.60 hours versus CHB entry on 4/2/19 “Call with PK and SA
                regarding outstanding liquidation questions” for 0.60 hours

        (iii)   See JED entry on 4/8/19 “Conference with SMK and CB re: Motion to Advice”
                for 2.9 hours [Doc. #1249-4 at 5]. Not only did the Receiver bill for his time on
                this issue, so too did SMK and CB on the same day17, resulting in triple billing
                for the same issue in a total cost of $2,354.80 just for this one meeting alone
                when the bill should have just been for one person alone – perhaps CB at
                $652.50. This is completely contradictory to the Receiver’s testimony in Court
                whereby he clearly stated that “if two of us are dealing with the same issue we
                only bill for one person’s time” [Doc. #1043 at 24:17-19, “Nov 28 Hr. Trans.”]
                and is yet another blatant example of the inefficiency, mismanagement and
                wastage by the Receiver. .

        (iv)    See SMK entry on 4/23/2019 “Telephone conference with SEC re: response to
                defendants motion for access, inspection of apartments” versus CHB entry on
                4/23/2019 “Call with MW/NH regarding outstanding issues in the receivership”
                [Doc. #1249-4 at 10]

        (v)     See SMK entry on 4/24/2019 “Meet with FTI in NYC” versus CHB entry on
                4/24/2019 “Meeting with apartment broker and tour of apartments” – each of
                these entries was billed at 3.80 hours, for a total of $2,135.60. There is double
                billing for the same line entry by both attorneys.

        (vi)    See SMK entry on 5/6/2019 “Conference call with SEC re: motion to withdraw by
                MC, fee report” versus CHB entry on 5/6/2019 “Call with NH/MW and SMK re
                outstanding receivership estate issues” [Doc. #1249-4 at 13]



16
   Should the Court want a line-by-line audit of each time that an entry is being double or triple billed,
Defendant would be happy to provide such for the benefit of the Court.
17
   See SMK entry on 4/8/2019 “Conference re: scope of receivership estate and motion for advice” [Doc.
#1249-4 at 5]; see CHB entry on 4/8/2019 “Discuss/revise motion for advice with JH and SMK (2.9)”
[Doc. #1249-4 at 6]
                                                    19
       Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 20 of 28




        (vii)    See SMK entry on 5/7/2019 “Telephone conference with Nic Heinke and Mark
                 Williams re: misc. pending issues” versus CHB entry on 5/7/2019 “…call with
                 NH/MW re [RD Motion for discovery]…” [Doc. #1249-4 at 13]

        (viii)   See SMK entry on 5/23/2019 “Conference call with SEC” versus CHB entry on
                 5/23/2019 “Call with NH/MW (SEC) regarding outstanding receivership issues”
                 [Doc. #1249-4 at 18]


        Third, the Defendant corrects an entry on the invoice. See SMK entry on 6/12/2019

“Conference call with defendant, relief defendants and Knag” [Doc. #1249-4 at 21]. The

Defendant did not arrange the call nor was he on the call. The Defendant has not had a single

conversation with the Receiver or his counsel during the time period covered by this Application.

This is yet another demonstration that the invoices provided by the Receiver are fraudulent and a

farce. They are simply produced to line the Receiver’s pockets.

         In contrast, the SEC has had multiple conversations and correspondences with the

Receiver and/or his counsel during this time period for a total of 28 hours and whereby the

Receiver has billed the Defendant $7,408 for it. The Defendant strongly opposes this and

reiterates that he should not be paying for the time the Receiver has spoken or corresponded with

his adversary, the SEC.

        Fourth, the Receiver’s attorneys have charged for travel time. As they are providing a

public service, the Receiver and his counsel should not be paid for travel time.18 See SMK entry

on 4/24/2019 “Travel to NYC” and CHB entry on 4/24/2019 “Travel to NYC” [Doc. #1249-4 at

35] – this is a total of $843 that has unnecessarily been billed to the Defendant. Not only is

travel “dead-time,” the Receiver’s counsel has billed for two people, whereby the Receiver had
18
   Just as the Receiver has not billed for travel time in another Receivership, he should voluntarily waive
all travel expenses and charges in this case. “In order to minimize expenses to the Receivership Estate,
the Receiver and Z&Z have not requested reimbursement for travel charges during the Compensation
Period associated with trips to Boston to meet with the Commission and to New York City to meet with
defendant Mark J. Varacchi (“Varacchi”) and his counsel.” SEC v. Varacchi, Case 3:17cv-00155-VAB;
Doc. 27, Filed 08/14/17, at 4. The Receiver should not bill for travel time here either “in order to
minimize expenses to the Receivership Estate.”
                                                     20
       Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 21 of 28




testified that they “only bill for one person’s time.” The Court should completely remove these

charges from the invoice, especially as the Receiver does not charge for travel time in other

Receiverships.

        Fifth, the Receiver has billed for his consideration of an appointment in the MA Civil

Matter, which has nothing to do with this matter and which is an unbelievable abuse of the Estate

assets. Any consideration of an appointment in an unrelated matter is a business decision for his

law firm and cannot be paid for from the Estate. The Receiver has had multiple internal

discussions and multiple discussions with the SEC on the MA Civil Matter, all of which are

extraneous to this matter and have nothing to do with this Receivership mandate. The Receiver

has billed an unbelievable 33 hours and nearly $9,000 (or approximately 10% of the requested

amount for this Application) for this matter alone. This amount should be removed in its

entirety. This is especially concerning as the SEC and the Defendant had engaged in settlement

talks in the MA Civil Matter and yet, the SEC continued to have conversations with the Receiver

on this issue.

        In addition, the Receiver has billed 2.8 hours and $943.60 for his appointment as receiver

in another matter. See SMK entry dated 5/15/2019 “Review and revise motion pursuant to

paragraph 5(J) of appointment order re: his appointment as receiver in SEC v./Canada” [Doc.

#1249-4 at 16]. This too is a business decision for the Receiver’s law firm and has nothing to do

with this instant matter. There is also no detail on what motion this entry refers to. This entry

must be removed from this invoice. This is the sixth such example of excessive and unnecessary

invoicing and a complete sham of time and record keeping.

        Sixth, the Receiver has billed a substantial amount of time and money to sell the

apartments, which is entirely premature at this point and is against the “wishes of the Defendant

and Relief Defendants.” [Doc. #1070 at 7] This Court has made it clear that only “[I]f
                                                 21
       Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 22 of 28




subsequently ordered by the Court… and with due regard for the interests of the Defendant and

the Relief Defendants…” [Doc. #1070 at 14]. The Receiver unbelievably continues to usurp

judicial functions from the Court. See Weil v. Neary, 278 U.S. 160 (1929). (Condemning

undisclosed fee sharing arrangement as taking the judicial function from the court).

       The Receiver continues to misunderstand his mandate and erroneously maintains that the

“primary objective of this receivership is to liquidate assets…” [Doc. #1249 at 17] – this is

simply one of the objectives of the Receivership, but certainly not the primary objective.

Nowhere has the Court ever stated that any liquidation is the primary objective of the

Receivership and it is simply astonishing that the Receiver unilaterally presumes so. In addition,

the Receiver unbelievingly unilaterally “concluded that he should begin the process of

liquidating the apartments subject ultimately to this Court’s approval of a plan of liquidation”

[Doc. #1249 at 17]. There are multiple complex issues involved in the briefing of the Receiver’s

Report and the Receiver cannot just “conclude” that he should begin the process of “liquidating

the apartments” without Court Order. Especially since the Court had made that clear. The

Receiver has billed 40 hours at a cost of nearly $9,800 to the Estate to “begin the process of

liquidating the apartments,” but the Court has not ordered any such process of liquidating!

       The Court must remove these charges from the invoice as they simply unnecessarily

drain the assets of the Estate, especially before the Court has made any liquidation rulings.

       The Receiver also appears to have had extensive conversations with a real estate broker at

Compass. The Defendant (and Relief Defendants) strongly opposes both Compass and Ms.

Froelich as a real estate broker candidate and has made it amply clear that not only are such

discussions premature prior to any court order, neither Compass nor Ms. Froelich are a suitable

or acceptable real estate broker for apartments of this caliber [Please see Doc. #1239 at 6-9 for



                                                22
       Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 23 of 28




the Defendant’s reasons why he opposes such firm and broker] by any stretch of imagination.

There is clearly some nefarious activity between the Receiver and Compass/Ms. Froelich.

        The Defendant has also addressed his serious concerns with the continued conversations

with FTI Consulting, especially on real estate issues. FTI is not even a real estate broker and as

such, has no business discussing a potential sale of any real estate. There is no reason why there

should be any involvement, let alone any “possible involvement of … FTI Consulting” [Doc.

#1249 at 17] in the apartment process.

        Seventh, the Receiver has spent a great deal of time responding to the Relief Defendants’

counsel regarding fees, etc. The Relief Defendants’ counsel has nothing to do with the Estate or

with the Defendant and the Defendant contests any amount of time the Receiver has spent on this

issue. The Receiver has billed a total of 40 hours and a cost of $10,637 (or nearly 12% of the

requested Second Application fees) for just this issue alone. The Defendant should not be paying

for this at all. The Defendant has already stated his Opposition to the payment of certain fees to

certain of the Relief Defendants’ counsel and there is no reason why the Receiver should be

paying any attention to this issue when it is the Defendant’s assets that are being considered for

this – the Defendant makes the sole decision on his assets, especially on those amounts over the

Judgment amount.19

        The Receiver has also billed 28 hours and a cost of $7,408 for speaking and

corresponding with the SEC in the Second Application. As Defendant has stated, he has not

approved any of these conversations nor does he know what they consist of. The Defendant has

not spoken with the Receiver or his counsel and has only minimally corresponded via email

during the time period under the Second Application. Indeed, the Receiver himself states that he


19
 Should it be determined that these assets belong to the Relief Defendants (as the Defendant has always
maintained), then the Relief Defendants are free to do whatever they wish with their assets.
                                                  23
       Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 24 of 28




“endeavored to resolve the various issues… primarily with counsel for the SEC and counsel for

the Relief Defendants…” [Doc. #1249 at 13] and that he “continued discussions with counsel for

the Commission and the Relief Defendants…” [Doc. #1249 at 14]. Nowhere is the Defendant

mentioned in any of these conversations. It is clear that the Receiver does not understand that no

consensus can be reached on any issue without the Defendant. Yet, the Receiver persists in

wasting resources by talking only to the Relief Defendants and the SEC; and in billing the

Defendant for it! As such, since the SEC is the Defendant’s fierce adversary in this matter, and

Defendant has not authorized the Receiver to speak with the SEC, the Defendant strongly

contests this amount.

       Eighth, the Receiver has spent an unnecessary amount of hours on tax issues when he has

“already concluded that he is not required to submit separate tax returns for the Defendant or the

Relief Defendants” [Doc. #1160 at 24]. If the Receiver has already concluded this, then why is

he continuing to unnecessarily incur additional charges for tax research?

       The Receiver is presumably experienced as a Receiver and there is no need, once he has

concluded that he does not need to file taxes for the Defendant and Relief Defendants, that he

continues to have discussions, research, and draft motions on such topic and continue to bill the

Defendant for it. In the Second Application, the Receiver and his counsel have spent

approximately 40 hours at a cost of $10,400 for this issue alone. This amount must be removed

from the invoicing. Yet another example of an unnecessary and unjustified full-employment

activity for his firm designed to line Receiver’s own pockets.

       The Receiver has also continued to bill for conversations with FTI Consulting (“FTI”),

which is a forensic accounting firm and has even charged to “[D]raft revised FTI application to

employ for tax advisory and forensic accounting services” [See CHB entry on 5/10/2019 on Doc.

#1249-4 at 15]. The Defendant continues to be astounded that the Receiver is still talking to FTI
                                                24
       Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 25 of 28




on (and invoicing for) tax and forensic services for this case, where no tracing has been ordered

and there are more than sufficient assets available to satisfy the judgment. This is simply a waste

of Estate assets, as there is no need to employ FTI in this case. Therefore, all entries with FTI for

any reason – both real estate, tax or forensic – must be removed from the invoices.

       Lastly, even the proposed Plan of Liquidation (which does not benefit the Estate, but

rather certain parties to this case) has taken 121 legal hours for an estimated cost of $33,200 in

the Receiver’s First Application. The Receiver has spent an additional approximate 95 hours and

$25,492 in the briefing of this Report and Plan in the Second Application. That amount alone is

over 25% of the requested fee payment for the Second Application. That means that the

Receiver has spent a total of 216 hours at a cost of $58,692 just to brief the Report and Plan.

Yet, the Plan simply recommends using cash, marketable securities, and two apartments to

secure the judgment; simply mirroring the plan the Defendant submitted on multiple instances.

The amount of fees invoiced for this is excessive and unjustified. If the Court still feels that this

should be paid, then it must be paid from the within the Judgment and/or paid by the SEC.

       These are just many examples of why the Defendant opposes any payment of fees to the

Receiver. See Code Prods. Corp., 362 F.2d at 673 (“In allowing fees the considerations are the

time, labor and skill required, but not necessarily that actually expended, in the proper

performance of the duties imposed by the court upon the receivers, the fair value of such time,

labor and skill measured by conservative business standards, the degree of activity, integrity and

dispatch with which the work is conducted and the result obtained.”). A full (but expensive and

unnecessary) audit of the Receiver’s timekeeping and records – which the Defendant is happy to

do himself for the Court should the Court order for it – will likely reveal many such excessive

and unnecessary invoicing and unjustified expenses incurred by the Receiver in order to line his

own pockets.
                                                 25
       Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 26 of 28




                                          CONCLUSION


       This Court should not allow the payment of excessive and unjustified fees to the Receiver

for all the reasons stated herein. This Court has also been clear that “it recognizes the parties

concerns regarding the potential cost of a receiver and shares their desire to avoid unnecessary or

high receivership costs” [Doc. #1070 at 5]. As the Defendant continues to reiterate, courts have

been very careful when granting attorney fee motions, especially those of a Receiver, who is

supposed to be retained for the benefit of the public. As stated by a Circuit Court on excessive

Receiver fees:


       “The $12,000 fee allowed appellee is more than the salary of a United States District
       Judge for an entire year. It is more than the salary of the most of the Governors or Judges
       of the Supreme Courts in the respective states of this country. In our judgment [sic] it is
       so exorbitant that its allowance must be held to be an abuse of the court's discretion. That
       there has grown up a judicial abuse in the allowance of excessive fees to masters,
       receivers, and attorneys in receivership cases cannot well be denied. The Supreme Court
       of the United States has called attention to this and sounded a note of caution and
       warning to the judges of the federal courts in the case of In re Gilbert, 276 U.S. 294, 296,
       48 S. Ct. 309, 310, 72 L. Ed. 580, as follows: “We were desirous of making it clear by
       our action that the judges of the courts, in fixing allowances for services to court
       officers, should be most careful, and that vicarious generosity in such a matter could
       receive no countenance.” And in Newton v. Consolidated Gas Co., 259 U.S. 101, 42 S.
       Ct. 438, 439, 66 L. Ed. 844, in passing on the compensation of a master the Supreme
       Court points out that, “The rights of those who ultimately pay must be carefully
       protected.” There seems to have developed an idea that lawyers are entitled to more
       compensation when employed in a receivership case than they would think of charging if
       employed by a private client for similar services. There is no reason for any difference in
       charges. Counsel should be allowed fair and reasonable compensation in receivership
       matters. There is no reason why they should be overpaid.” (emphasis added).

                               Federal Oil Marketing Corporation v. Cravens, 46 F.2d 938, 943
                               (8th Cir. 1931).


       The same is absolutely true in this instant case. The Receiver has not shown that the fees

and expenses he incurred from April 1, 2019 through June 30, 2019 were a productive use of the

Estate’s assets, or that they were cost-efficient and ultimately beneficial to the Estate. Instead, it
                                                  26
         Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 27 of 28




has been shown that the Receiver has cost the Estate with overbilling and unnecessary billing.

Given the Court’s understanding and desire to “avoid unnecessary or high receivership costs,”

the Court should deny the Receiver’s Second Application.



         WHEREFORE, the Defendant humbly requests the esteemed Court deny the Receiver’s

Second Application; or in the alternative, impose an additional 50% discount and a 100%

holdback until the conclusion of all appeals in this case, and for any such fees to be paid from

within the judgment by those parties that are benefiting from the appointment of Receiver and

not the Defendant.




                                              Respectfully Submitted,



Dated:         September 03RD, 2019           /s/ Iftikar Ahmed
                                              ____________________________
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                                                27
      Case 3:15-cv-00675-JBA Document 1261 Filed 09/02/19 Page 28 of 28




                               CERTIFICATE OF SERVICE




       I hereby certify that a copy of the foregoing document was filed through the ECF system
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                                              28
